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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )              Case No. 1:04-cv-00798-PLF-GMH
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.       )
                                      )
                   Defendants In Rem )

              UNITED STATES’ MOTION TO STRIKE CLAIMANT
       PAVEL LAZARENKO’S CLAIM TO ASSETS HELD IN LIECHTENSTEIN

       Plaintiff United States of America, by and through its undersigned attorneys, moves

pursuant to Federal Rule of Civil Procedure 56 and Rule G(8)(c) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions (“Supplemental Rules”) to strike for

lack of Article III, statutory, and prudential standing, the claims of Pavel Lazarenko

(“Lazarenko”) to the defendant assets held in the name of Beranco Engineering Establishments

(“Beranco”), Ylorex Establishments (“Ylorex”), and Tanas AG (“Tanas”) in Liechtenstein, and

all assets traceable thereto (collectively, the “Defendant Liechtenstein Assets”) as enumerated in

paragraphs 5(i) and 5(j) of the First Amended Verified Complaint for Forfeiture In Rem (the

“Amended Complaint”) (Dkt. No. 20). 1

       As explained in the accompanying memorandum, Lazarenko cannot meet his burden to

establish statutory, Article III, or prudential standing because he cannot show by a

preponderance of the evidence that he has a colorable ownership or cognizable possessory or



1
 Plaintiff does not move to strike Claimant Lazarenko’s claim to the account in the name of
NRKTO 7541at Liechtensteinische Landesbank AG, nominally valued at approximately $5,000.
                                                 1
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financial interest in the specific claimed property; nor has he asserted his interest in the property

in the manner set forth in the Supplemental Rules. (Dkt. No. 1255) at 12, 14, 16-17; United

States v. All Assets Held at Bank Julius Baer & Co., Ltd. (“All Assets IV”), 959 F. Supp. 2d 81,

96, n. 10 (D.D.C. 2013). The facts in this matter clearly demonstrate that Lazarenko is not the

beneficial owner of the Defendant Liechtenstein Assets, that he has denied knowledge of these

accounts and has failed to establish any ability to control or affect the funds. This Court should

therefore strike his claim to the Defendant Liechtenstein Assets.

       In support of this Motion, the United States submits a Memorandum in Support of its

Motion. The Memorandum includes numerous record citations to documents provided to the

Court in prior pleadings filed in this matter, an appendix of additional exhibits referenced in the

Memorandum, and an exhibit containing translations from German to English of some of the

pages included in the appendix. This Motion also includes a Statement of Material Facts Not in

Dispute and a Proposed Order.

                                               Respectfully submitted,

                                               DEBORAH CONNOR, CHIEF
                                               MONEY LAUNDERING AND
                                                  ASSET RECOVERY SECTION


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